                              UNITED STATES DISTRICT COURT

                        FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )       NO. 12-2069 MK
                                             )       MAGISTRATE JUDGE GRIFFIN
CARLOS CAEZ ROSA                             )
a/k/a JUAN LUCAS LUNA                        )
a/k/a LUCAS                                  )


                                            ORDER

        The Government has moved that the Court direct the Clerk's Office to unseal the Complaint

and Warrant in the above-styled case on the basis that the warrant has been executed and there is no

further need for the Complaint and Warrant to remain sealed.

       It is therefore ORDERED that the Clerk is directed to unseal the Complaint and Warrant in the

above-styled matter for the reason herein stated.

       This   8th     day of June, 2012.




                                                     JULIET GRIFFIN
                                                     UNITED STATES MAGISTRATE JUDGE




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